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EXHIBIT 21

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Not Reported in F.Supp.Zd
Not Reported in F.Supp.2d, 2006 WL 126634 (S.D.Tex.)
(Cite ass 2006 WL 126634 (S.D.Tex.))

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Only the Westlaw citation is currently available.

United States District Court,
S.D, Texas, Galveston Division.
Carlos RYERSON, Plaintiff,
v.
Carlos Romero DESCHAMPS, Defendant.
No. Civ.A. G-05-092.

Jan. 13, 2006.

Anthony G. Buzbee, Attorney at Law, Galveston,
TX, for Plaintiff.

George Munoz, Attorney at Law, Washington, DC,
Joseph G. Soliz, The Soliz Law Firm PLLC, Hous-
ton, TX, for Defendant.

ORDER GRANUNG DEFENDANT'S MOUON TO
DISMISS

KENT, J.

*1 This case arises out of an alleged tortious inter-
ference by Defendant with a legal services contract
entered into between Plaintiff Carlos Ryerson
("Plaintiff') and a Mexican Union with whom De-
fendant was formerly affiliated Now before the
Court is Defendant's Motion to Dismiss, which
seeks dismissal based on lack of personal jurisdic-
tion, forum non conveniens, and improper venue.
For the reasons articulated below, Defendant's Mo-
tion is GRANTED, and this case is DISMISSED
WITHOUT PREJUDICE.

FNl. The Court does not consider this Or-
der worthy of publication Accordingly, it
has not requested and does not authorize
publication.

I. Background

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Plaintiff is a Houston attorney who Was hired by the
Petroleum Workers Union of the Republic of Mex-
ico ("the Union") in 1990 to represent it in litiga-
tion then pending in Harris County District Court
("the Arriba Litigation"). During the litigation,
Plaintiff agreed to defend the Union in any future
claims relating to the Arriba Litigation. In 1998,
Plaintiff was personally hired by Enron and was re-
legated to a peripheral role in the Aniba Litigation
which was on appeal. ln 2000, Ryerson left the em-
ploy of Enron, and the Arriba Litigation sub-
sequently heated up again. In late 2003 or early
2004, Ruben Chorer`io, the Union representative
with whom Plaintiff originally dealt, again asked
Plaintiff to help with the An‘iba Litigation. Plaintiff
began working on the case again, and a settlement
was ultimately reached. According to Plaintiff, the
settlement agreement, for varied and personal reas-
ons, was not in Defendant's best interest Defendant
took the position that the settlement was invalid and
that Plaintiff was not authorized to act on behalf of
the Union. According to Plaintiff, Defendant per-
suaded other Union officials to abandon the settle-
ment agreement, which fell through, depriving
Plaintiff of his agreed-upon fee. lt is Defendant's
actions in causing the failure of the settlement
agreement that form the basis of Plaintiffs tortious
interference and fraud claims.

II. Personal Jurisdiction
A. Legal Standard

As a nonresident of Texas, Defendant is subject to
personal jurisdiction in this District if he is amen-
able to service of process under Texas's long-arm
statute and the exercise of personal jurisdiction is
consistent with due process. See Jones v. Petty-Ray
Geophysical Geosource, Inc., 954 F.Zd 1061, 1067
(5th Cir.l992). Since the Texas long-ann statute
reaches as far as the Constitution allows, there is a
single inquiry into whether jurisdiction over De-
fendant is consistent with the Due Process Clause

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of the United States Constitution. See Wilson v.
Belz'n, 20 F.3d 644, 647 (5th Cir.l994).

Whether the exercise of personal jurisdiction over
Defendant is consistent with the Due Process
Clause requires a two-pronged inquiry. First, the
Court must conclude that Defendant has "minimum
contacts" with the forum state. See Int’l Shoe C0. v.
Washington, 326 U.S. 310, 316, 66 S.Ct. 154, 158,
90 L.Ed. 95 (1945). Second, the Court must determ-
ine that requiring Defendant to litigate in the forum
does not offend "traditional notions of fair play and
substantial justice."Id. The "minimum contacts" as`
pect of due process can be satisfied by finding
either specific jurisdiction or general jurisdiction.
See Wilson, 20 F.3d at 647. Contacts unrelated to
the cause of action may confer general jurisdiction,
but these contacts must be both "continuous and
systematic" and "substantial." See Helicopteros
Nacionales de Colombia, S.A. v. Hall, 466 U.S.
408, 417, 104 S.Ct. 1868, 1873, 80 L.Ed.2d 404
(1984). A defendants limited contact with the for-
um state may support specific jurisdiction if it gives
rise to the cause of action. See Ruston Gas Tur-
bines, Inc. v. Donaldson Co. ., 9 F.3d 415, 419 (5th
Cir.l993). Specific jurisdiction, the only type al-
leged by Plaintiff, is proper if (l) the nonresident
defendant "purposefully avails itself of the priv-
ilege of conducting activities within the forum
state, thus invoking the benefit and protection of its
laws," and (2) the controversy arises out of or is re-
lated to the defendant's contact with the forum
state. Burger King Co)p. v. Rudzewicz, 471 U.S.
462, 475, 105 S.Ct. 2174, 2183, 85 L.Ed.2d 528
(1985); see also Asarco, Inc. v. Glenara, Ltd., 912
F.2d 784 (5th Cir.l990). The burden is on Plaintiff
to establish jurisdiction See id. at 785.

B. Analysz`s

*2 Plaintiff alleges the following facts to support
the exercise of personal jurisdiction over Defend-
ant: (l) Defendant sent an agent to Texas to fire
Plaintiff as attorney for the Union, (2) Defendant
directed others to communicate to Arriba's counsel

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that the settlement agreement was invalid, and (3)
Defendant took "leg'NZ efforts" in Texas to invalid~
ate the settlement Plaintiffs Response ulti-
mately accuses Defendant of taking actions in
Texas to interfere with a Texas contract.

FN2. Plaintiff does not state what "legal
efforts" Plaintiff took in Texas to invalid-
ate the settlement Accordingly, this state-
ment is merely conclusory and will not be
given substantial weight by the Court.

These allegations, taken as true, are enough to sup-
port the exercise of personal jurisdiction over De-
fendant. Plaintiff focuses on several letters from
Defendant. One letter, sent in late 2004, Was from
Defendant and required |Plaintiff to clear all further
action in the case with another attomey. A second
letter from Defendant told Plaintiff that he no
longer had authority to act on behalf of the Union.
According to Plaintiff, Defendant was not author-
ized by the Union to send these communications In
addition, Plaintiff alleges that Defendant wrong-
fully persuaded Union officials to rescind the settle-
ment agreement. The communications between De-
fendant and other Union officials necessarily oc-
curred in Mexico, where Defendant and all other
Union officials are residents

In Panda Brandywine Co. v. Potomac Electrz`c
Power, 253 F.3d 865 (5th Cir.2001), the Fitth Cir-
cuit found no personal jurisdiction over a Defend-
ant where the contract allegedly interfered with was
not governed by Texas law, was not to be per-
formed in Texas, and was unrelated to Texas in any
way other than the residence of the Plaintiff
'I`hough Defendant cites Panda Brandywine as au-
thority for its arguments, that case is factually dis-
tinct from the instant case. Here, performance of
the contract was to be in Texas, and this case is
more analogous to Central Freight Lines Inc. v.
APA Transport Corp., 322 F.3d 376 (5th Cir.2003),
where the Court supported jurisdiction over a De-
fendant who interfered with a contract to be per-
formed in Texas. "Although mere allegations of
tortious interference with a forum resident's con-

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tractual rights are not sufficient to establish specific
personal jurisdiction, it is clear that specific person-
al jurisdiction may be based on intentionally tor-
tious conduct that is purposefully directed toward
the forum state." Id. at 383.According to Plaintiff,
Defendant intended to interfere with Plaintiff‘s con~
tract and did so by making false statements in let-
ters and through agents concerning Plaintiffs con-
tinuing relationship with the Union. These actions
are enough to establish minimum contacts with the
State.

Having found sufficient minimum contacts, this
Court must consider whether the exercise of per-
sonal jurisdiction would offend the traditional no-
tions of fair play and substantial justice. Though tri-
al in Texas will no doubt be inconvenient for De-
fendant, a Mexican resident, it does not rise to the
level of offensiveness In making this determina-
tion, the Court considers: "(l) the burden on the
nonresident defendant of having to defend itself in
the forum; (2) the interests of the forum state in the
case; (3) the plaintiffs interest in obtaining con-
venient and effective relief; (4) the interstate judi-
cial system's interest in the most efficient resolution
of controversies; and (5) the shared interests of the
states in furthering fundamental social policies. See
Asahi Metal Indus. Co., Ltd. v. Superior Court of
California, 480 U.S. 102, 115, 107 S.Ct. 1026, 94
L.Ed.2d 92 (1987).

*3 In this case, only the first factor, which will be
considered in more detail below weighs against the
exercise of jurisdiction However, the remaining
factors in this test make it clear that exercising per-
sonal jurisdiction over Defendant will not offend
traditional notions of fair play and substantial
justice. The courts in this state have an interest in
protecting the contracts of its practicing lawyers,
therefore have an interest in this case, The consid-
eration of the interstate judicial system is lessened
in this case, since there is no alternative state being
proposed, but rather an alternative country-Mexico.
Consideration of the relative merits of pursuing this
case in Mexico are addressed more fully below.

The Court notes that this case presents a very diffi~
cult and close question of law. While the Court has
done its best to apply the guidance of the Fifth Cir-
cuit as outlined in its previous decisions, it wel-
comes the advice of that higher Court, should the
Parties choose to seek it. Having said that, this
Court finds that Defendant could have reasonably
expected to be called into a Texas court, and has
sufficient minimum contacts with the State of
Texas appropriate to confer jurisdiction on this
Court.

III. Forum Non Conveniens
A. Legal Standard

The doctrine of forum non conveniens derives from
the proposition that "[i]n rare circumstances, feder-
al courts can relinquish their jurisdiction in favor of
another forum." Quackenbusk v. Allstate lns. Co.,
517 U.S. 706, 722, 116 S.Ct. 1712, 1724, 135
L.Ed.2d 1 (1996). Pursuant to this doctrine, a court
may dismiss a case in favor of a foreign forum if
the defendant establishes that the convenience of
the parties and the court, coupled with the interests
of justice, indicate that the lawsuit is better suited
for adjudication elsewhere. See Karim v. Finch
Shz`pping Co., Ltd., 265 F.3d 258, 268 (5th
Cir.2001).

Federal courts employ a two-part analysis when ap-
plying the forum non conveniens doctrine in the in-
ternational context. See Piper Aircraft v, Reyno 454
U.S. 235, 255-56, 102 S.Ct. 252, 265~66, 70
L.Ed.2d 419 (1981). The first step involves a de-
termination of whether an adequate and available
foreign forum exists. See Sydow v. Acheson & Co.,
81 F.Supp.2d 758, 768 (S.D.Tex.2000). Next, if an
adequate alternative forum is available, the court
must decide whether "certain private and public in-
terest factors Weigh in favor of dismissal." McLen~
nan v. Am. Eurocopter Corp., 245 F.3d 403, 424
(5th Cir.2001). If the relevant private interest
factors advocate dismissal, however, no inquiry in-
to the public interest factors in needed. See Baris v.

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Sulpicio Lines, 932 F.2d 1540, 1550-51 (5th
Cir.l991). While undertaking both steps of this ana-
lysis, courts must remain mindiill that "the central
purpose of any forum non conveniens inquiry is to
ensure that the trial is convenient." Piper Aircraft,
454 U.S. at 256, 102 S.Ct. at 266. See also Syndic-
ate 420 at Lloyd’s London v. Early Am. Ins. Co.,
796 F.Zd 821, 827 (5th Cir.1986).

*4 The private factors to be considered in a forum
non conveniens analysis relate to the convenience
of the parties, and include: the relative ease of ac-
cess to sources of proof; availability of compulsory
process for attendance of unwilling witnesses; the
cost of obtaining attendance of willing witnesses,
possibility of viewing the premises, if such viewing
would be appropriate to the action; other practical
problems that make a trial of a case easy, expedi-
tious, and inexpensive; enforceability of judgment;
and whether the plaintiff has sought to vex, harass,
or oppress the defendant See Karim, 265 F.3d at
268 n. 14 (citations omitted). The "public interest"
factors include: administrative difficulties; reason-
ableness of imposing jury duty on the people of the
community; holding the trial in the view of those
affected; and the local interest in having localized
controversies decided at home. See id.

B. Analysis
1. Adequate Forum

Defendant argues that Mexico presents an adequate
alternative forum for the adjudication of this dis-
pute and that Mexican law allows for the redress of
the claims alleged by Plaintiff. An alternative for-
um is available to the plaintiff when the foreign
court can assert jurisdiction over the litigation
sought to be dismissed See Pz`per, 454 U.S. at 254
n. 22, 102 S.Ct. at 265 n. 22 (citation omitted)
("Ordinarily, [the requirement] will be satisfied
when the defendant is amenable to process in the
other jurisdiction"). The alternative forum is ad-
equate as long as the parties will be treated fairly
and will not be deprived of all remedies there. See

Sydow, 81 F.Supp.2d at 768. See also Piper, 454
U.S. at 254 n. 22, 102 S.Ct. at 265 n. 22.

Plaintiff has not presented, and the Court is not
aware of, any obstacles to justice within the Mexic-
an court system. Accordingly, the Court finds that
Mexico is an available and adequate forum for litig-
ation of this matter.

2. Private Interests

The private interest factors in this case weigh heav-
ily in favor of adjudicating it in Mexico. Any docu-
mentary evidence needed in the preparation and
presentation of this case can be transferred between
Mexico and Texas with relative ease, so that bears
no burden on this forum non conveniens analysis.
However, the cost and ability of obtaining testi-
mony and attendance of both willing and unwilling
witnesses weighs substantially in favor of a Mexic-
an adjudication. Plaintiffs only argument on this is-
sue is that he lives in Texas, so it would be more
convenient for him to try the case here. While that
is undoubtedly true, it wholly ignores every other
person relevant to the resolution of this case, all of
whom are Mexican nationals. These witnesses in-
clude Defendant and other Union representatives
This Court cannot compel the attendance at trial or
deposition of unwilling witnesses who live and
work in Mexico. Moreover, the cost of obtaining
testimony &om willing witnesses will be higher
When all of those witnesses live in Mexico. In fact,
Defendant himself is currently prohibited from
leaving Mexico. Consideration of the availability of
key witnesses clearly supports trial in Mexico.

*5 This is currently a case against a Mexican na-
tional, and any judgment against him would have to
be satisfied from his personal assets, which this
Court presumes are located in Mexico. This Court
simply cannot enforce a judgment that would re-
quire seizure of assets located in a foreign country.
The evaluation of the private factors relevant to this
case, clearly shows that Mexico is a superior forum
for the Parties‘ dispute.

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3. Public Interest

Courts often turn to the interests of the public when
considering an argument of forum non
conveniens.However, since the private factors in
this case weigh heavily in favor of dismissal, no
further inquiry is necessary, and dismissal based on
the doctrine of forum non conveniens is appropriate
in this case, See Baris, 932 F.2d at 1550-51.

IV. Venue

It is unclear to this Court what connection this case
has to this Division of the Southern District of
Texas. Any connections this case has with the State
of Texas are with Houston, and this case would
more appropriately proceed there. While the Court
is always flattered by the desires of Parties to litig-
ate their disputes here, it is simply unable to hear
cases which are not appropriately before it. Accord-
ingly, should this case ever be before this Court
again, it will be transferred to the Houston Division
of this District.

V. Conclusion

The Court thanks both Parties for the excellent ad-
vocacy displayed in the well-prepared briefs sub-
mitted in connection with this Motion. lt is always
an honor, and frankly a lot of fun, to preside over
cases involving attorneys of such high caliber.
However, subjective preference aside, the Court
finds that this case would more appropriately be lit-
igated in either Mexico or Houston. Accordingly,
Defendant's Motion to Dismiss is GRANTED,
CONDITIONED on the willingness of Defendant to
submit to the jurisdiction of the Mexican courts for
any action Plaintiff commences in Mexico, based
on these facts, within six months of the date of this
Order. All claims asserted by Plaintiff in this action
are DISMISSED WITHOUT PREJUDICE. A Final
Judgment will be issued contemporaneously with
this Order. All taxable costs, expenses and attor-
ney's fees shall be borne by the Party incurring
same.

IT IS SO ORDERED.

S.D.Tex.,2006.

Ryerson v. Deschamps

Not Reported in F.Supp.2d, 2006 WL 126634
(S.D.Tex.)

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EXHIBIT 22

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273 F.3d 1095
273 F.3d 1095, 2001 WL 1085140 (C.A.5 ('l`ex.))

(Not Selected for publication in the Federal Reporter)
(Cite as: 273 F.3d 1095, 2001 WL 1085140 (C.A.S (Tex.)))

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This case was not selected for publication in the
Federal Reporter.

Please use FIND to look at the applicable circuit
court rule before citing this opinion. Fifth Circuit
Rule 47.5.4. (FIND CTAS Rule 47.)

United States Court of Appeals,
Fiith Circuit.
WIEN AIR ALASKA, INC., Plaintiff-Appellant,
V.
Gerald I. BRANDT, Defendant-Appellee.
No. 01-10450
Summary Calendar.

sept 5, 2001.

Appeal from the United States District Court For
the Northem District of Texas, (4:95-CV-59l-Y).

Before DeMOSS, PARKER, and DENNlS, Circuit
Judges

PER CURIAM; FN*

FN* Pursuant to 5TH CIR. R. 47.5, the
Court has determined that this opinion
should not be published and is not preced-
ent except under the limited circumstances
set forth in 5TH CIR. R. 47.5.4.

*l Wien Air Alaska, Inc. ("Wien") has appealed the
district court's dismissal of this case on grounds of
forum non conveniens. We affirm the district
court's ruling.

Wien sued Gerald Brandt in a Texas state court al-
leging that Brandt de&auded the company in an
overseas business venture. Wien is a Texas corpor~
ation engaged in the business of leasing commercial
aircraft on an international basis. Brandt is an attor-
ney, and a citizen and resident of the Federal Re-
public of Germany ("Germany"). Afier removing

Page l

this case to the Northem District of 'l`exas, Brandt
filed a motion to dismiss the case on forum non
conveniens grounds. The district court granted
Brandt's motion and this appeal followed.

We review a district court's dismissal on forum non
conveniens grounds for "clear abuse of discretion."
Pz'perAircraft Co. v. Reyno, 454 U.S. 235, 257, 102
S.Ct. 252, 70 L.Ed.2d 419 (1981); see also Alpine
Vz`ew Co. v. Atlas Copco AB, 205 F.3d 208, 221
(5th Cir.2000); Dickson Marine, Inc. v. Panalpina,
Inc., 179 F.3d 331, 341 (5th Cir.l999) (both citing
Piper Aircraft )."[G]enerally, a district court abuses
its discretion when it grants a motion to dismiss
without oral or written reasons or if it fails to ad-
dress and balance the relevant principles and
factors." Dickson Marine, 179 F.3d at 341. We
therefore only reverse the lower court's decision if
it made unreasonable or unsupported conclusions
when applying the forum non conveniens factors
discussed in Gulf Oil Corp. v. Gilbert, 330 U.S.
501, 508-09, 67 S.Ct. 839, 91 L.Ed. 1055
(1947).See Alpine View, 205 F.3d at 221.

District courts apply a three step inquiry in determ-
ining whether to dismiss a case on forum non con-
veniens grounds. First, the court determines wheth-
er an available and adequate forum exists where
"the entire case and all of the parties come within
the jurisdiction of that forum." Dickson Marine,
179 F.3d at 342. Second, if an adequate alternative
forum exists, the court balances several "private in-
terest" factors to determine if dismissal is warran-
ted. See id.If the private interest factors weigh in fa-
vor of dismissal, the court need not make further in-
quiry. Baris v. Sulpicio Lines, Inc., 932 F.2d 1540,
1549 (5th Cir.l99l), cert. denied, 502 U.S. 963,
112 S.Ct. 430, 116 L.Ed.2d 449 (1991). Finally, if
the private interest factors remain closely balanced,
the district court may dismiss the action based on
"public interest" factors that favor the alternative
forum. See In re Air Crash Disaster Near New Or~
Ieans, La., 821 F.2d 1147, 1165 (5th Cir.1987).

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273 F.3d 1095, 2001 wL 1085140 (C.A.5 (Tex.))

(N ot Selected for publication in the Federal Reporter)
(Cite as: 273 F.3d 1095, 2001 WL 1085140 (C.A.5 (Tex.)))

The district court found that Germany was an ad-
equate and available alternative forum. The only
evidence in this case regarding the adequacy of the
German legal system suggests that it is sophistic-
ated and that it recognizes the relevant causes of ac-
tion in this case. The fact that the filing fee in Ger-
man courts is one percent of the total recovery
sought does not make German courts inadequate al-
ternative forums. See, e.g., Mercz'er v. Sheraton
Int’l, Inc., 981 F.2d 1345, 1353 (lst Cir.l992)
(holding that a fifteen percent cost bond did not
make Turkish courts unavailable); Nai-Chao v.
Boeing Co., 555 F.Supp. 9, 16 (N.D.Cal.l982),
ajj"d, 708 F.2d 1406 (9th Cir.), cert. denied, 464
U.S. 1017, 104 S.Ct. 549, 78 L.Ed.2d 723 (1983)
(holding that a one percent filing fee was not relev-
ant to the adequacy of the foreign forum).

*2 The district court also found that the private in-
terest factors in this case weighed in favor of Ger-
many. The Supreme Court has held that the follow-
ing private interest factors are relevant to the forum
non conveniens inquiry: (l) the relative ease of ac-
cess to evidence; (2) the availability of compulsory
process of likely witriesses; (3) practical considera-
tions such as the cost and speed of trial; and (4) the
enforcibility of judgment if one is obtained. See
Gilbert, 330 U.S. at 508-09.

In weighing the private interest factors in this case,
the court considered the following facts. First, the
court noted that although Wien is incorporated in
Texas, it is an international corporation that main-
tained offices in Germany at the time that its causes
of action accrued. Brandt, on the other hand, is an
individual residing in Germany, who made only one
trip to Texas upon Wien‘s insistence. Second, the
district court found that the majority of the key wit-
nesses iri this case live in or around Germany. This
finding was based in part on the fact that the trans-
action at issue involved the sale of commercial air-
craft in Germany and the possible expansion of
Wien's business in Eastem Europe. Third, the court
noted that the contracts at issue in this case are
written in German, and that German law will prob-

ably govern this case. Fourth, Brandt showed that
he owned no assets in the United States, so that en~
forcing a judgment in this case would ultimately re-
quire Wien to file suit in Germany. Finally, the
court noted that as a practical matter, Germany has
an interest in policing the activities of its attorneys,
particularly when they are engaged in activities
centered in Germany.

We conclude that the district court did not abuse its
discretion in finding (1) that German courts provide
an adequate alternative forum and (2) in balancing
the private interests in favor of Germany. We there-
fore AFFIRM the district court's dismissal of
Wien's action on forum non conveniens grounds.

C.A.5 (Tex.),2001.
Wien Air Alaska Inc. v. Brandt
273 F.3d 1095, 2001 WL 1085140 (C.A.5 (Tex.))

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EXHIBIT 23

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\AO 440 (Rev. tol93) Summotns ina Civil Acti‘un

UNITED STATES DISTRICT CoURT

Southern District of Texas

 

BaSSam NabUlSi» et EL _ SUM]VIONS lN A CIVIL CASE
V.

H.H. Sheikh lssa Bin Zayed Al Nahyar&l H
CASE NUMBER.' -06'2683

TO: (Nam¢ ana names uri)ermm}

H.H`. sheikh esa san zayed Ai Nahy`an
P. o. sex 464
Abu~r>hab:, uAE

YOU ARE HEREBY SUI\MONED and required to serve upon PLAINT[FF’S ATTORNEY (name and address)

.,1»0

an answer to the complaint which is herewith served upon you, within days after service of this
summons upon you, exclusive of the day of service If you fail to do so, judgment by default will be taken against you for
die relief demanded in the complaint You must also tile your answer with the Clerk of this Court within a reasonable
period of time after service.

W mg 10 lvth.Y

Case 4:06-cV-O2683 Document 132-13 Filed in TXSD on 03/05/09 Page 12 of 41

Case 4:06-cv-02683 Document 51 Filed in TXSD on 06/23/2008 Page 2 of 2

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RETURN OF SERVICE
DATE
Service of the Summons and complaint was made by mem June 19, 2008

 

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(P Nelson Yucker Reglstered Procoss Server

 

 

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L___l Served personally upon the diird-party defendant Plaee where served:

 

 

m Lel’c copies thereof at the defendantis dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein

Naine of person with whom the summons and complaint were lefc:

 

m Rewmcd imexecuwd:

 

 

 

E O{hgr (spg;ify); Left copies thereof at the defendants usual place of business by serving Asmai| Alat)ras. Aaslstant to Defendantl who g*
on behalf of Defendant Servod at Peari Propemes, Oud Medha Road at10th Sueet, First Floor, Dubai. UAE

 

 

 

 

 

 

 

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MVEL $9225.50 SERVI°ES $20,000.00 mm us$29.225.50
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I declare under penalty of perjury under the laws of the United States of America that the foregoing infonriation

contained in the Rctmn of Sei'vice and Staternent of Service Fees is e and correc
Exe¢u;ed on June 20, 2008 j
. . ., ., y

Date

 

Process Sarvica Network, LLC, 20832 Roscoe Blvd., Winnetka, %L\

Addre:s ofva

 

 

 

(I)Asiowho may serve asmnmonsseeRule4 ofthe chcnil R.ules ofCivil Prooeduie

Case 4:06-cV-O2683 Document 132-13 Filed in TXSD on 03/05/09 Page 13 of 41
case 4;06-cv-02683 Document 51"-2 Filed in TXSD on 06/23/2008 Page 1 of 2

RETURN QF" $ERV|CE
(Doclaration of Bervice)

united swiss mistrial conn
Southem District of Texas

l, watson Tucl<er. here declare that the following facts am true end correct and that l could
competently teotify, if c |ed. that

1, l am a citizen of the Unlted States ofAmaric-, am aver1B years of age, and not a party
to the within-actlcl`l. l am a Registered Prooosc Senrer ln thc Gouhty of Loe Angeles.
State of Callfornla, and have been so employed for the past 30 yeare. l am the
Presldent or .Prooeea Servioe Network, LLC and personally supervise all international
servlce of process ass@iments. l have authored three (3) books on soruce.of process
and regularly teach a college course on the subject l have personally trained over 1709 4 _
process senate in the past 24 years. _ ~

2. l have over 20 years experience in service of process on thin lnlemational level, and
have supervised the service of approximately 100 papers in the United Arab Emir_ares
fullég'} = ; "-l-.~r./¢inlr'-.g 1 r-lli;.»r'i ~l-ll _.‘._ 'v_€S 0
make use of Lette:s Rogatory. The method cl aervlce l have always used in the U.A.E.'. is
through mailing, through personal senllce or the hidivtclual or his silent uslng our alflllsre
process sewer in the UA

3. on .lune 5, 2008, l received an assignment from 'l"he Buzbee Law Firm to personally
carver a Summnns and Plaintist Flrst Amended Complaint related to the case Nabulsi
va. Nahyan, et al.. case no l'l-US-ZBB$. upon H.H. Sheikh lssa Bin Zayed Al Nahyan
("Defendant“) at his home and business addresses in the UAE. l was advised that the
service deadline was Ju_ne 30, 200_8.

' 4. On June 5 2008 l forwarded the service asslglment to our affiliate process sewer in

Abu Dhabl, UAE. along with milton instructions to serve the Defendant at his residence
address cf Palace of Shell<h less Bin Zayed Al Nahyarl; Abu Dliabl, UAE.

      
 

 
      

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‘___*_ET“Qn-aonenmcoenwasjadussd'byuie~pmees'eemeruraruienaf ndanrhacl~movedm"~_~“.
n l ° ‘- il ~ \\ -~ .' ' § ' ’ - - - . . .

 

"Vn|u' $l¢rc$ o ». o _ ~v~.’» , ~ wild ,\» _~ y, .
mailed copies of the service documents to the Defendant at the Defendant's last known
address, P.O. Belx 464, Abu Dhabi, UAE.

B, On June 13, 2008, l entered into an agreement with Plalnlirl’s attomey to personally

E_m_omew,pemonaneseme_lhe_nereuaw_bewae.couu¢omeree____l

deadline for service l received the sum of US$20,000.00, plus a Buc|ness~class ticket
on Cathay Pacltlc Aler valued at US$Q.ZZS.SO.

7. On June 17, 2008, l traveled to Dl.lbai, UAE for the purpose of setvlng the Defendant

8. Ol'l Jl.llle 19. 2008, l attempted service on the Defendant at hls business address of
Emlrates rollers attica Buildlng. 45"' Floor. sheth za Roa Du ‘ uAE. l was

_ adlll§§cl by the securlty guard that the Defendant had moved his ofl'¢oee.

9. On done 19, 2008, et 1145 p.m., using my cell phone from outside the Defendant's
orhces, l called the telephone number provided lo me for the Defendant
+19?1043366661. The phone was answered as “F'eali Propertles.” l inquired lt the
Defendant was available and the receptionist advised me that he was net in the office
but that lite Buelness Manager could assist me. l have learned through my research that
Defendant Shell<h lssa ls the owner of Peal‘l Pl'OP€rtles. and the individuals with which l
spoke confirmed such.

 

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'iO. On .iuns 19, 2008, l attempted service on the Defendal'it at his current business address
or i='earl Propsriies, Oud Medha Road at 10" Sti'eei, Firsi Floor, Duoal, LiAE. l was
advised blr the receptionist that the Defendant was not in the ofi'ice. l inquired if the
Defendant's Businsss Manager, sell Ai suwaidi {“Suwaidi") was present The
rscaptlonistt called an unknown party of the interoom and eha advised me that he words
be right ou .

tt. an dunn 19. 2008, at 1:50 p.m., a male identified himself to ms as Asmail Alabras,
Asaislai'it lo the Defendant Ho stated to me that he is employed by the Defendant l-le
further advised me motive Defendant was riot currently ln ti'ia office. l advised him as to
the general nature of the papers and he agreed lo accept them nn bailaif of th€_
Defendant l'le was over the ago ol' 18 ysars. lie spoke mont Engllsh. He agreed to
accept the papers on behalf of the Defendant and agreed to provide the papers to the
Do‘ii:ndant. .

12. On June 19, ZDOB, l mailed a oopy, of the Sorvirie documeriis w the Defendant at the
same address where this documents were ief.t. The mailing was accomplished via
certified mail ln'Dubai. UAE. , . '

13, Thers are rio other Rhown addresses for servioe~. Basad on my experienoe, fha service
accomplished is proper under the laws of UAE and the United States of Amerioa. The
service was made pursuant to Fsdoralj;tuiss or leli Prooedure, Rule diniziiAi and, if .
ordered would he proper pursuant to Rule 4(5('3). There are no treaties bowman the ' l
united States of Amei‘lca and the UAE related to service of processl including The -
Hagua S¢rvioe Gonvention. Thsre is no prohibition to'auci't service accomplished herein,
and, moreover, based on my sxperienoe, such service method is och:aliy proscribed by
the laws of the U.A.E. The method of service used to serve tha Defendant herein has
been used by my oompsny many times

14. in addition to the above-stated methods of servioe, l also mailed copies of the service

documents to the Defendant at thc addresses mentioned ~ln paragraphs 38 and #4.

abovs, via regular mail. (There is no method of oe mail service in the u.A.E.

" "-‘ '-"li'"' " ':. :vl'¢'.T-\ |~*"I`onl

to ensure that actual notice is 'given to the Dslendant.

   
 

  
 

   
    

lot .

 

l declare under penalty of perjury under the laws of lite Unile States of Amei'ica that the
foregoing is true and correct Executsd on this 20‘” day of Juno 2008, al Los Angolos, CA

/Ar /

%%L__

’ / . _ . Nelson :l'-u_ol<sr
Pi'ooi§so Sewice Nstwork, LLC

6 . .
Wirinetka, CA 91306 USA
818-772~4796
Registered Proosss Seiver
Los Argeles County #1803

 

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EXHIBIT 24

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E|ectronica|ly signed by Mary Burkes (201-400-728-1433)

IN THE UNITED sTATEs DISTRICT CoURT
FoR THE soUTHERN DISTRICT oF TEXAS
HoUsToN DIvIs:oN
BASSAM NABULSI, AND His wIFE, )
RIMA NABULSI, >

Plaintiffs )
V.

)
)
)
H.H. sHEIKH :ssA BIN ZAYED AL )
NAHYAN, H.H. sHEIKH NASSER BIN )
zAYED AL NAHYAN, H.H. sHEIKH )
sAIF sAIF BIN ZAYED AL NAHYAN, )
H.H. sHEIKH MoHAMMED BIN ZAYED )
AL NAHYAN, AND THE PARTNERSHIP )
oF THE RoYAL FAMILY BIN ZAYED )
AL NAHYAN, >

)

Defendants. )

VIDEOTAPED ORAL DEPOSITION OF
ISMAIL MOHAMMED ALABRAS
NOVEMBER 6, 2008

VIDEOTAPED ORAL DEPOSITION OF ISMAIL
MOHAMMED ALABRAS, produced as a witness at
the instance of the Plaintiffs, and duly sworn, was

taken in the above-styled and numbered cause on the

‘6th day of November, 2008, from 3:14 p.m. to 4:53

p.m., before Mary Abbott Burkes, CSR in and for the
State of Texas, reported by machine shorthand, at
Le Trianon Palace Westin, 1 Boulevard de 1a Reine,
Versailles, France 78000, pursuant to the

Federal Rules of Civil procedure and the provisions

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CIVIL ACTION NO. H-06-2683

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PageZ':5

1 APPEARANCES

2 §

FoR THE PLAINTIFFS: ;

3 §

Mr. Anthony G. Buzbee l

4 Mr. Nicholas Simon §

THE BUZBEE LAW FIRM §

5 JP Morgan Chase Tower §

600 Travis, Suite 6850 §

6 Houston, Texas 77002 §
7

FOR THE DEFENDANTS H.H. SHEIKH ISSA BIN ZAYED AL
8 NAHYAN, ET AL.:

9 Mr. Michael B. Bennett
Mr. Peter R. Griffin
10 BAKER BOTTS, L.L.P.
One Shell Plaza
11 910 Louisiana Street
Houston, Texas 77002-4995
12
-and-
13
Mr. Alex Roberts
14 BECK, REDDEN & SECREST, L.L.P.
One Houston Center
15 1221 McKinney Street, Suite 4500
Houston, Texas 77010-2010
16
VIDEOGRAPHER:
17
Ms. Beth Fein
18
ALSO PRESENT:
19
Ms. Hal Mudhawfer, Defendant's interpreter
20 Mr. Bassam Nabulsi

 

 

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Page 12 .

A. There nothing -- there were nothing
officially written that it was addressed to
somebody.

Q. You were -- you were told to give it to
your boss, right?

A. Yes. But there were no address, and l
cannot handle it like this.

Q. So you refused to give it to your boss?

A. What do you mean by l refused to hand it to
my boss?

Q. You were asked to provide the package to
your boss. True statement?

A. Yes, it's true, yeah. But the right things
is when somebody handed me something, it would be
identified. lt would be addressed to somebody.
Because l receive hundreds of packages and letters
every day.

Q. How many people work at Pearl Properties?

A. Nearly 15 or 16.

Q. Okay. And you say you receive hundreds of
packages a day? ls that what you just told me?

A. It's not hundreds, l mean, the figure, But
l receive many publicities, magazines and
newspapers and packages like that,

Q. And usually when you receive a package and

   

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Page 13 §

you're asked to provide it to your boss, you do so,
right?

A. No, it is not true if it is not recorded.

Q. What do you mean by that?

A. The packages where nothing is written is
not important, are not important,

Q. You knew an American came to your company,
right?

A. I don't know that he's American, but he was
speaking English.

Q. You knew he was a foreigner, right?

A. Yes, foreigner.

Q. So you knew a foreigner came to your
company with a package, right? Right?

A. Yes. He came. Yes, he came. But l didn't
know why, what was the purpose of his coming.

Q. l hear you.

My question is: You knew he was a
foreigner, and you knew he had a package for your
boss, right?

A. l don't understand exactly the question.
Do you mean that l knew before he arrived to the
place or after he arrived to the place l knew that
he was a foreigner and he was having something to

handle?

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Page14 §
Q. Okay. You knew a foreign man was standing §
in front of you in your office -- or at the
company's office, right?
A. He -- not in front of me. He was standing
with my colleague, somebody was working with me.
Q. Okay.
A. And after that, he came and he spoke with
me.
Q. And he asked you to provide the package to
your boss, didn't he? `
A. Not the first thing, but the last, the last §
thing he did, because he wanted to handle the z
package to the boss first.
Q. But your boss was not there?
A. No.
Q. Where was he?
A. 1 don't know. 1 didn't ask him. 1 don't
ask him. 1 never ask him about that.
Q. And what is your position in the company?
A. 1 am special security or private security
for Mr. Saif in the company.
Q. You were his assistant or security?
THE 1NTERPRETER: Oh, he's secretary,
not security. He's the special secretary of

Mr. Saif.

    

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Page 15

Q. (By Mr. Buzbee) How many secretaries does
he have?

A. Two other persons. But they go out with
him and come back to the company.

Q. Okay. And do you see him often?

A. When he comes to the office, yes.

Q. How often does he frequent the office?

A. Sometimes it's daily. Sometimes it's for
three, four days. And after that -- and after
time, it's after work time, Sometimes it's after
work time, 1 don't see him.

Q. Do you generally deliver packages that are
brought to his attention?

A. Yes. 1f he asks me to do so, 1 do. And if

sometimes he asks me to do, 1 handle packages to

him.

Q. Who opened the package?

A. 1 don't know. 1t was opened?

Q. 1'm asking you: Who opened the package?

A. 1 don't know.

Q. Did you finally give the package to your
boss?

A. No.

Q. You still haven't given it to him?
A. No. 1 handed it to the lawyer ~- to the

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Pagelé §
lawyer who came to Dubai. 1

Q. How long ago?

A. Two to three weeks ago. §

Q. Okay. So two or three weeks ago, you gave
it to which lawyer?

A. The person who is printing now.

Q. Okay. So -- and why did you do that?

A. Mr. Ali asked me to give him -- to handle
him the package,

Q. And what did you -- what did the package --
where was the package until you finally gave it to
the lawyer that's sitting at this table?

A. 1n the reception is -- we have -- we have a
box in our reception where we throw things that we
don't need. 1t was there all the time,

Q. Why did you throw it in that box?

A. Documents, things, packages that we don't
know, magazines, always we throw -- we put in that
box.

Q. Who told you to put it in the box?

A. Nobody.

Q. So somebody gave a package to you to give
to your boss, and you decided to throw it in a box?

A. 1t wasn't important.

Q. How do you know it wasn't important?

 

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Pagezlz

white envelope and put it at the reception in July; g
is that right?

A. Yes.

Q. And that's the reason you put it at the
reception?

A. Yes.

Q. He told you not to open it, didn't he?

A. Yes.

Q. He told you, "Do not -- whatever you do, do
not give it to the Sheikh," right?

A. No, he didn't say that.

Q. Does the Sheikh have an office at Pearl
Properties?

A. No.

Q. Does he have a desk, a secretary, anything
there at that business?

A. No, never.

.Q. How often have you seen him at Pearl
Properties? And 1 mean --

A. Never.

Q. And --

A. Not once.

Q. And you've -- how long have you worked for

Pearl Properties?

A. One year now.

    

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Pagezs §

1 TI-IE INTERPRETER: Okay. (

2 Q. (By Mr. Buzbee) "1 work in the Emirate of §

3 Dubai under a working visa for Pearl Properties"; §

4 is that true? §

5 A. 1t's true. §

6 Q. "Which is owned solely by Sheikh 1ssa"; is §

7 that true? §

8 A. And there is -- there is a difference §

9 between "visa" and "owned." All our visas were §

10 issued according to this Pearl company, from -- all §
11 our visas were stamped on the office of the chair, §

12 all the workers, the staff, the people who are
13 working that Pearl company.

14 Q. Okay. My question -- §
15 A. And there is a difference between the §
16 "visa" and "owned by." §
17 Q. Sir, 1'm asking you whether Sheikh 1ssa ;
18 owns Pearl Properties. You say he does, in your §

19 affidavit.

20 A. 1 don't know who owns this company. Why?
21 Because it's Mr. Saif who has the -- who has the
22 authority to sign everything, all papers of the
23 company.

24 Q. Okay. So you don't know whether Sheikh

25 1ssa owns Pearl Properties or not?

 

 
 

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Page 27

Q. Okay. But you know that your passport is
stamped by Sheikh 1ssa's office?

A. (Witness nods head.)

Q. So you know he has some role in this. You
just don't know what it is?

A. 1 don't see him. 1 never see him. 1 know
that all the work is done by Mr. Saif.

Q. Do you recognize the man that appears in
Exhibit 7 to the Sheikh's deposition?

A. No, 1 don't know.

Q. You don't know that that's Sheikh 1ssa?

A. No.

Q. Okay. So you wouldn't recognize him if you
saw him on the street?

A. No.

Q. You don't remember when you saw him at his
brother's -- giving condolences to his brother?

A. Yes. 1t was one minute. 1 only shaked his
hand. And he had very dark glasses, big dark
glasses on his eyes. And so it was one minute.

Q. Uh-huh. Who wrote the language in the last
sentence of Paragraph 3?

Stop. Let me try that again.
Who wrote the language in the second to

last sentence of Paragraph 3?

 

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Page 28
THE 1NTERPRETER: "Second to last"?

MR. BUZBEE: Yes.

A. 1t came to me written. 1 only modified it.

Q. (By Mr. Buzbee) Which part did you modify?

A. Truly, 1 don't remember. Exactly, 1 don't
remember.

Q. Okay. What is Saif al Swuidi's
relationship to Sheikh 1ssa?

A. 1 don't know what his relationship. 1 know
that they are relatives, but exactly, 1 don't know.
Q. Tell me what the foreigner said when he

handed you the package,

A. First before he handed me the package, he
asked me about Mr. Saif. After that, he told me
that he would like to handle it personally to
Mr. Saif. Then he gave it to me and told me to
give it to Mr. Saif.

Q. 1s that all he said?

A. He spoke about a few things. 1 didn't

w =-,='<>.<='r»><x\s\<,:~.w inc :1 1 ' z = 1 - . 1»»"'.»»-~._.»-v<.¢.~¢»» ¢. ~ 1 m ix `1»:,~.1» ~ ". W>WX ~»;»:~ v z:\.:¢»."~v 1 1 »1 >11 4,1~1~1», ',' , .» ,..\v1~ »1…1 s ~ 1 1. ~ » 1.:1~ <a~\`:` n

understand all of it, but he told me that he wanted
to speak with Mr. Saif.

Q. Are you sure that's all he said?

A. No. There were conversation. He told me

that he was going to travel and that he needs to

see Mr. Saif and to give to him this package,

 

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EXHIBIT 25

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IN mm UNH'ED sTATBs DISTRICT chRT
FoR THB soUmERN msch op ms

HOUSTON DIVISION

BASSAM NABU'LSI §

_‘ §

- §
V. § CIVIL ACTION NO. H-06-2683

§

§

' l §

H.H. SHEIKH ISSA B_IN ZAYBD AL §

.NAHYAN (th mef¢naanc* or ¢sven¢h ISSa’)

EXPERT WITNESS STATEMENT
911
Dr. FARAJ ABDULLAH AHNISH

To me HoNoRABLB JUDGB oF sAID coURT=
I, Dr, Faraj Abdullah Ahm'sh, do hereby solemnly affirm and state as follows:

1. I am a Citizen of the United Arab Bmiratqs (“UAE”). I am a lawyer licensed to
practice in the UAB with ‘a right of audience before all oomts in the UAB. I hold a
Ph.D degree in Intemational Law from the Univmsity of Cambridge, England, and
am presenny ihe. Managing Pa'rmer ofthe law mm of Hadei; nga comments &
Advocates, of Which I am a fo\mding member. The said irm has offices in Abu
Dhabi, the capital ofthe UAB, and Dubai, UAE.

2. 1 have been wavéiy~ pushing law in me UAE since 1 joined the law arm Hadei;
' -Legal` Consultants &Advoca:tesin 1990. This statement isbeing made by me atthe
request of United States counsel for the Defendant in my capacity as an expert on
UAE law, to assist the Honou_!able Court by providing a legally and factually

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Exhibit No. :

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' eorters Inc.

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` `Céi§é"4`:`0`6¥o'v-02683 "B`é&`iirné”iit""l“sél'i's`""'"l`=`i"|`"é`cl'i'n""T"Xéb` on""Os/OB/'OQ 'F>`a`gé"'§'§"61"41"""""""""“""'"""'

Case 4:06~cv~02683 Document 61-4 Fiied in TXSD on 08/08/2008 Page 3 of 15

_ accurate narrative of the UAB Law relating to the Service of Procsss and to, give an
expert opinion on whether the Servioe of Process as described in the document
titled “Return of Service” (as Will be defined below) is considered orr held legal and
constitute proper service of process under UAE law. -

8. l have been supplied with a copy of, and reviewed the said document titled “Retum
of Service” said to be sworn by a Mr. Nelson broker before the United States
manor conn in mo sonator_n nisvior of romano nom or sorvio¢).'mo
document contains a total of fdurteen paragraphs and the following is a brief
outline of the process undertaken therein:

4. Mr Tucker outlines in the Retum of vaice his personal credentials as a Process t
sewer in cho United swan annum method ofsorvioo he claims to novo meant mo '
UAB on previous occasions On 5“‘ of .Tune 2008 he Was assigned by The Buzbee
row i='inn in tho Uniroa scores to personally serve o summons ana monies Fn_sr
Amondod complaint upon shon<h rssa Bin znyoa Ar _Noyan (shonn nso)`, at ins
home and business address in the UAE. This is in connection with the civil claim
quoted above in which Sheilc.h Issa is a defendant `

5, Mr Tucker states in the Retum ofService the following:

~ On 17m lime 2008 he travelled to Dubai for the purpose of serving the
process personally on Sheikh Issa.

- He attempted service on the 19th lune 2008,at Emirate Towers Oflice
building 45*’* noon nunn an adams ho refers to as “zho defendants
business address”. He fundshes no evidence in the form of documentation
or an a§idavit of a witness that this address is legally and formally the
business address of the Defendant

- He stated that he was informed by the security guard at Emirate Towers
OEce building that Sheikh Issa had moved offices His statement does not
provide any details on the particulars ofthc said security guard

¢ On the same date Mr 'I‘ucker telephoned a number he obtained, allegedly
belonging to Sheikh Issa. He spoke to a receptionist who advised him that
Sheilch Issa was not in the oHice, but that his Business Manager. could
assist .

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» . Mr Tucker then attempted service of the process on the Defendant at what
appears'to be a company under the name of the Pearl Properties, whose
business address is said to be located at Oud Medha Road, Dubai. Mr.
Tucker’s statement is not supported by any documentation or affidavit as to
the legal and proper existence of the company called ‘Pearl quped;ies_’.

» _Ho stores that he called the telephone number for road Proporaos and the
receptionist advised him that the Defendant was not in the office, He also
states that he learned through his research that the Defendant is the owner
of Pearl Properties. Mr. 'Iueker does not in his statement give any details
as t_o the sources of his ‘research’.

~ Mr Tucker then attempted service on the Defendant in the oHices of Pearl
Proper|ios When a male met with him and identi&ed hhnself`to him as a Mr. _ : 16
Ismail Albars. Mr. 'l‘lrclcer further states that he advised Mr. Albars as to
the general nature of the papers and he, that is, Mr. Alliars, agreed to accept
them on behalfof the Defendant As will be seen below, Mr. Albars refutes
this statement oer. moran
~ On the same date, Mr ’Idcker mailed a copy of the service documents to the
Defendant at the same address ofPem’l Properties, Oud Medlra Road, Dubai
via certified mail` m Dubai’ .

» He states that he mailed further copies to the Palace of Sheikh Issa and the
business address stated on the service documents ‘via regular mail’. Mr.
'Ihclcer states that ‘There is no method of certified mail service in the UAE
providing for a return receipt.’ This is not accurate: a mail with registered
delivery service (providing for a return reeeipt) is available in the UAE and
is occasionally used by, amongst others, lawyers for mailing legal notices

» Mr. make farmer sales ana there is no way borden the United states
of Amecica and the United Arab Emirates related to service ofprocess.

» Mr 'l`ucker concludes b'y stating that there are no' other known addresses for
service and that he is sai:isned that the service accomplished is proper
service under the laws ofthe UAE and the United States.

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, Case 4:06-cv~02683 Document 6,1-4 Filed in TXSD on 08/08/2008 Page 5 0f15

6. l I have also been supplied with a copy of a document titled “Declazation of Ismail
Albars”, in connection with this proceedings and have reviewed the contents of tbc,
same Again I will briefly outline the content of this document below: `

v Mr Isma.il Albiirs states at the outset that he is competent to testify to the
matters set forth in his declaration and makes clear that he has personal
lmowledge ofthe facts set R)rth regarding the “reeeipt of an envelope” and
his relationship with Sheilch 1ssa unless otherwise indieated, '

o Mr Albars states that he is 39 years old, of Syrian Nationality, completed

' secondary education but holds no academic qualifications He states that he
works m the Emirate of Dubai, under a working visa for Pearl Properties,
which he states' rs owned solely by Sheikh Issa.

» He goes on to state that`Pearl Properties is a Real Bstate Mzmagement and
Developmeot Company and that he started work at the company' on
November 10“‘ 2007, as the secretary rs a Mr sam swuidi, the ceo or

' Pear_l Properties, His responsibility includes organizing Mr Saii’s meetings
and schedules and handling his correspondence

. Mr Albars states that he has only met Sheikh Issa once, when himself and
other members of staE` at Pearl Properties visited Sheikh Issa’s residenee' m
AI_ Ain, a separate Bmirate from Dubai, to offer their condolences after the
wage death orvis raw brother, sham Nasssr Bizi zayed Al Nahyan

o Mr Albars goes on to state that he has not worked with Sheikh Issa on any
matters at Pearl Properties nor has he ever heard ofhim being in the office,
He states categorically that he does not report to Sheikh Issa or handle any
duties related to Sheikh Issa.

v He states that he is n_ot authorised to,act as Sheikh Issa’s representative or
' agent for any purposes and that he has never made representation to anyone
that he is a representative or agent of Sheikh Isse.

~ _ Mr AIbars then outlines that when he arrived at his ofE\ce at Peerl
Properties {presumably on the relevant date of the Service ofProcess by Mr
Tncker, as no date is indicated), he saw a low level worker named Musta&,
standing With a foreign man (presumably Mr 'I`ucker). Mr Albars says that
he, that is, Mr Albars, did not pay attention to`the foreign man at the time

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v Afrer a period of approximately five minutes of the foreign man with
Muswfa, Mnsmfa, informed Mr Albars that the foreign man was looking `£or
Mr san ne says he was asked in Brignsh whener Mr snfwas present md
that he replied that Mr Saif was not_ present Mr AIbars states that he Was'
then asked when Mr Saif would anive, and that he told the foreign man that
Mr Saifwas avezybusyman and thathe, that is Mr Alba.rs, d_id not know d
when Mr snf would arrive bus mac the foreign man could wait for him.

» Mr Albars states that he asked the foreign man for his name and
insomnon, put ass was not given He anew that instead 'ch¢ foreign man
told him that he would like to hand deliver an envelope to Mr. Saif Al
swuid`i. Mr Arbars`sraus nn he then asked the reweign man w come ’
another time in order to personally deliver the envelope to Mr. Saif.

» ne mm mar the foreign map asked him, mac is Mr Albars, m give the
envelope to Mr. Saif, because he, that is the foreign man, could not wait for _
Mr. sara Mr Albars mm that before the foreign man len, he,` nat is, Mr.
Albars, asked him again for his name and information He states that the
` foreign man wrote some information on a small piece of yellow paper and
put it over the envelope

v Mr Albars further states that when he was asked by the foreign man about
his name and job title, he introduced himselfas Secretary of Mr. Saii` Al
Swuidi and not as an Assistant to Sheikh Issa.

- Mr Albaxs states that he did not sigi for or provide a receipt for the
envelope, and that he just accepted the envelope from the foreign man for
delivery to Mr Saif. He says he did not agee to accept the envelope on
behalf of Sheikh Issa nor did he agree to deliver the envelope to Sheilch
Issa. -

- Mr AIbars goes on to state that at the time he accepted the envelope for Mr.
Saii'; he did not know anything regarding the contents of the envelope or
that the contents were in relation to Sheikh Issa. He states that the foreign
man never discussed the nature of the contents of the envelope with him.‘

~ Mr Albars states that Sheikh Issa’s nnme was never mentioned by him_, that
is Mr. Aibars, during the course of his conversation with the foreign man.

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He states that he never made any representation to the foreign man that he
Was employed by Slieikh Issa or that he was anthorised to accept
correspondence on behalf of Sheikh lssa.

~ He linther states that afler the foreign man leil‘, he saw the yellow piece of
paper with an inj:ernational phone number written on it. He states that
because the envelope was not formally addressed to anybody and did not

. have the address and name of the sender on the reverse side, he normally
did not give any_priority attention to such conespondence¢.

o He concludes by stating that due to the previous point and the ihc|: that Mr.
' Saif was not available during that time, (he was abroad~ outside UAE and
is averybusyman ), he, thatis MrAlbars, has notbeen able to deliverdle
' envelope or it's content to Mr. Saif. Hc goes onto state that he has not
' delivered jche envelope or it’s content to Sheikh Issa.

7. Having` outlined the contents of the documents at my disposal and in order to
address the issue as w whether the Scrvice of Procecs as described above is
corlsidered or held legal and consiitute proper service of process under UAE law, I
will outline briefly the provisions of the law governing service of process in the
UAB. I will also analyse whether a Rireign company and /or a private person
qualifies to serve court processes mderUAE Law.

8. The relevant law is Federal Law No. ll of 1992 on Civil Proceduxe as amended
by Federal Law No. 30 of 2005 (the Civil Proccdure Law), in pariicnlar Articles 5
to 13. '

9. Generally, the Civil Procedure Law_ refers to the service of Process as
“Notiflcation” and hmceforfh l will make such reference when the context so
requires. Article 5(1) of the Civil Prooedure Law states that:

"Notzjz`catz'on shall be served on the litigant's request or by virtue of a court order
by a summons clerk or in the manner speczjz`ed byLaw. "

A simmons clerk under UAB law is a civil service oHcer who is appointed and

trained by the relevant government authority° m the UAE and whose oHice is
customarily smelled to one of the UAE Courls circuits.

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"'"""`6§§§`21":`66`-`¢`\`/-02683 Doédr`hé`h`t"i§ilvi`§`m""l=“i'l'é`cj`i`h'""TX'§D on 03/05/09 P'a“g'é"§l"c')¥`A§i""""""" ` `

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10. Article 5(2) of' the Civil Procedme Law goes on to seats the following:

'Wotz_'fz`cation may also be served through a company or a private ojice or more.
771€ Cabi)zet of anters shall apart the proposal thhe Mm'ster of Ju.s'n'ée..., issue
the re'gul¢z'tions pertaining to the work qfsuch companies and afees as well as the
terms and conditions required jbr practicing this wark'according to the provoions
aft'ke Iaw. " ' ' ~ '

1 1. A_Iacle 5(3) ofth civil aware Law also states ibm nw employee afa company
,or a private office serving a summons shall be deemed to be a summoner (i.e. a

summons clerk), for the purpose of the law.

12. Article 5(4)' states that if the summons clerk is unable to serve the noiiiica,tion, the
competent .`Fudge must be informed in order that appropliate action can be taken. _

13. It is evident from the povisions of Arh`cles 5(1), (2) and (3) 'a_bove that the
persons/entities queli£ed to serve sulmnons in the UAB under the Civil Prooedm'e
Law are: -

~ a civil service officer appointed es a summons clerk;

- a company (subject to the issue of regulations and terms and conditions of
' praetice); and

v a private office (subject w the issue o'f regulations and terms and conditions
of pracfioe); an employee of a company or private office who carries on the
processing as mentioned above, is regarded as a summons clerk.

14. I will now deal in more detail with the provisions of Article 5(2) of the Civil
~Pmcedure Law and in particular the provision relating to the issue of Regulalions'
by the Cabinet ofl\/Hnisters open the recommendaiion of the Minister of Justice,
pertaining to the work of companies and offices now1 anthorised to serve
summons These regulations are found in Ca`bhxet of Ministers Decision No 11 of
2006. Arliclec 1, 2 and 3 set out th`e conditions and regulations which companies
and oiices carrying out the business of process service must adhere to.

15. Article 1 ofMluisterial Decision No 11 of 2006 siipulates the following:

_- ’ 7703 was inoaduced' in 2005 as an amendment to LaWNo 11 of §992 on CivilProcea'ure.

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Conditionsfor companies and private oj?ces carrying out the business of:iudicial

notification are as follows `_ .

'1. "To be a company or branch of a conq)any or an oj&`ce or a representative
q§z`ce establz`shed' m the State m accordance with the provisions of the laws
of the State;

2. 'Ihe scope of activities of the company or the o_@ice has to be qfsimilar
services;

3, Ihe comparg) or ofice has to commit to open branches or oj?ces in the
Emiratas and their major cities

4. The company or oj’ice shall have the necessary competence to pracaae the
work of Judlczal notification services and to have the mjident capacity to
do so in the best waypossible;

5. Ihe company or ojj‘ice shall abide by and repeat the laws, regulations and
legz'slatlons in force in the State, especially those related to Judicial
Proceedings,'

6. flhe employees of the company or the qj'z`ce have to beji¢lly aware of the
geographical and adminis¢rative distributions in the State; and

7. Ihe company commits to train its employees on in o'wn account and
according to the `train'ing program prepared by the Ins!llute of Trainz'ng
and Jzzdicial Slndies in cooperation with the Mm'stry of Justlce "

_16. As outlined in the provision ofArticle 1 ofCabinet ofMinisters Decision No l 1, in

' order for a company or private ofdce to carry out the business of serving processes

in the UAE, they must meet the conditions stipulated m that Article. Particnlarly

of note is the condition'that any such company or private oMce, or a branch of a

' foreign company must be established in the owed Arab lemsz vi accordance

with`the relevant law. The relevant law regulating the formation of a company or

branch of a foreign company in the UAE is Fedcral Law No 8 of 1984, as
amended

17. This condition in my view is a prc-requisite to the fuliilmen`t of any ofthe other

~ conditions stipulated in Article 1 and crucial to the present case. lt also answers the

question “whether a foreign company qualifies to serve court processes \mder UAE

Law” In my view the answer to that question is Yes, provided that the foreign

company has a branch or representative office established in the UAE according to

the laws in eB'ect. The relevant law regulating the formation cf branch or

representative companies in the UAB is Federal Law No. 8 of 1984 (the
Commercial Companies Law).

18. As to the Question “whether a private person qualifies to serve court processes

under UAB law, again the answer is yes, provided that person is an employee of a
company or private ohice or a branch of a foreign company established in the

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UAE according to the laws in effect and abiding by the conditions and regulations
stipulated in Cabinet of Ministers Decision No. 1 1 of 2006. In particula\', such an
employee has to be fully aware ofthe gwéraphicd and administrative distributions
in the UA.E and be trained by the company, according to the trainmg program
prepared by the UAB_Insiitute of Training and_JudiciaI Stndies in cooperation with
the Ministry o£Justice. `

19. Article 2 of Cabinet of Ministers Decision No 11 of 2006 goes on to stipulate
the following:

Companies and oj‘ices responsible for processing judicial notifications must
commit to the following

1. " Follow the procedures set forth in the Civil Procedure Law, when
implementing the service of notification `

2. Execute notification during the period set by the Minz'stry of Justice
whether m regular suits or in urgent/referee

3. Retwn a copy of the noti_)‘icatim after being signed by the r recipient

. within the amc frame set forservice of the notification .

4. Maintain the corg‘identiality of information and papers disclosed to

employees and staj' of the company or the ojt`ce

5. Provide the necessary work team in addition to the requirements needed to
_ pe)jbrm wbrl: that achieves the purpose l
6. Keep necessary records for data entry set by the Mnistry ofJustz'ce

'7. The employees of ojices and companies cannot proceed with notificatiom
` ' to persons they have interests with or who are related to them ap to the

4th degree
8. Any other obligations ~set by t_he Mmistry of Justice in the contract
concluded with the company or the ojice"

20. Article 7 of the Civil Prooedmec Law sets J’.i)r§h the iimdameninl procedures that
must be adhered to when serving aprocees. .

'I'hese are widely recognised and strictly observed by notiiicaiion officers in the
UAE. The most essential requirement under these procedures is that the
nodieation document must have essential data and infonnau'on. These include:

(a) date and time ofsuch notification

(b) details of the party requesting notification: jidl name. occupation or
fanction, address and place ofwork, details of the party' s representative:
jilll narne, occupation or jiozctlon, address and place of work ifworla'ng
jbr a third party, .

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' ""Céé`é:AiOG-`cv-OZSSS DoCdM§Hf'i§§'i"`i"§""“ii`i`|“éd"'i'"ri`"'T$Z§D"BH"G`S/OB/OQ Page370f41

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(c) details of !he party being non"fz`ed: j_'izll name, occupation or jimetion,
cca'rent ar last known addrws, place qfwork

(d) particulars of the Notijicatz'on O_Hicer: name, jimca'on, department and his
signature on the original and copy, _

(e) subject of the notification

69 jidl name of the person to whom.the notice is delivered and his signature
seal or thumb print on the original to acknowledge receipt or indicate
refilsal and the reason for such rejilsal.

The above information must be recorded in 'wriiing in the nofiiication sheet in
duplicate._ A copy of the sheet, signed by th’e recipient must be returned in the
ease file for review by the court presiding over the claim prior to the hearing date.

In his declaration, Mr Albars states that he was delivered by Mr. Tucker of an
envelope end was asked by Mr. mckee to denver it to Mr. snifAJ swuidi. He
further states that the envelope Was not addressed to `anyone; nor, that is ‘Mr.
An>are was 'adviee_d of me contean of ne envelope Neiner Mr. rucker nor Mr.
An>e`es referred re a neumann sheen being denvered by Mr. rucker se Mr.

' Al`bars. Neither of them mentions that Mr. Albars signed on any document as
evidence_of aclmowledgement of receipt of any'dccument. Mr, Tueker mentions
in his statement that he explawed ihe contents cfthe envelope to Mr. Albars but he
never refers in his statement to a detailed notiHcalicn sheet being delivered to and
signed by the recipient (that is Mr. Albars), - On the basis cf the ahove, it is !ny
view that the fimdamental procedures set forth under Article 7 above have not been
satisfied by Mr. Tucker’s attempt to serve the process '

21. Arlicle 3 of Ca`binet of Ministers Decision No 11 of 2006 states as follows:

"The Mnishy ofMdce prq)a)'es the necessary contracts for the carrying out of

the business of serving judicial notifications, and is empowered to sign with

companies or their branches that have the required conditions and obligations as
` mentioned m articles 1 and 2 of ¢hzs decision "

In order words, the UAE Mhlistry of Iustice is the body in charge of preparing the
necesan camourcing contracts for carrying out the business of serving judicial
notiicadons, and is empowered to sign such contracts With companies or their
branches which have the necessary quali£cations menlioned in articles l and 2.

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22.' Applying the foregoing provisions to the present case, l respecthy submit that
the attempt by Mr._'l‘ucker to service the Process in the manner described by him
does not satisfy any of these mandatory provisions of the Civil Proced_ures Law
relating to the process of services And therefore does not constitute a valid
process service under these provisions

23- I will now outline the different methods of service recognised and considered as
valid service on various categories of respondents as stipulated under the UAB
Civil Procedu.re Law.

o Service on natural persons:

24. Artiele 8 of the Civ_il Procedure Law states that a copy ofthe notification should be
delivered to the person to be notitied or td his address or place of work. It can also
be delivered to him wherever he may be.

25. In the event that he is not present at his address, the law provides that the
notification 'may be delivered to a spouse or relation living with him. Also if the
party to be notified' is not present athis place of work, a copy may be delivered to a
person, con£zming that he rs responsible ii)r management of the said place or that
he' is employed there

26. Any such person must appear to be at least 18 yws of age and their` interest should

' not be manifestly contrary to that of the respondent

27. The Civil Procednre Law timber stipulates the procedure to be followed in the
event that there is no one qualified to accept delivery of the notiiication eitherat
the home or work address, In such a case the, the Noti£wtion Ofticer must
indicate this on both the original and copy of the Notij'ication and inform the
competent hidge, who then orders that a copy of the Notiiication be placed on the
notice board and the door of the residence of the person upon whom the notice is to
be served, or the door of his last known address

28. An order can also be made that the Notiication be published in a large circulation
Arabic language daily newspaper published in the country. This procedure will
also be followed if theperson to he notiiied did not indicate an elected address or if

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the information he gives is inadequate or incorrect, or he cancels the elected

'Ihe term “competent ludge” means the judge who ordered or authorised the issue
of the Notitication,

» Service on Government departments

29. These would include minisiries, federal and local govemment, public bodies and
public corporations of all lcinds. Servicc of notification is effected by serving it on
their legal representative(s). ‘

-¢ _Service on Jurldical Persons:

, 30. These include companies, partnerships private establishments and private-legal
d entities Notiticaiion is eEected by serving it at the head ohioe, on the legal
representative or any one depu|ising for him. lf they are a.bsent, the notification
can be delivered to an employee in the ofl:ice. Where there is no head oiiice the
copy of the notiiication should be delivered to the representative in person or to his

home address, '

» Service on Foreig;u Companies:

31. A.rticle 9 (3) of the Civil Procedure Law stipulates that where a foreign company _
has a branch `or office in the UAE, notiiication will be served on the person
responsible for the branch or office or their legal representative in the UAE. If
there is no legal representative preseht, the notice may be delivered to an employee
at the office,

0 Service on a Respondent residing abroad:

32. The Civil Procedure Law in Article 9 (7) stipulates that with regard to persons with
a known address abroad, notiiication will be delivered to the representative of they
Ministry of lusticc for forwarding to them through diplomatic channels, unless
there is a special agreement to regulate the means ofnotification.

33. The various methods of service as outlined above are the manner of service
recognised as valid service in the diii`erent ciromnstances under UAE Law.

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However having said that, I would draw the attention of the Honourable Court to
the provision of Art:icle 13 of the Civil Proeedure Code. '

34. . Article 13 of the Civil Procedure Law states:

"The procedure is a nullity ifso stipulated expressly by law,' z`fit isflawed;_ or if
there is a material dench which defeats the purpose of the procedure " The Article
goes on to state:

'Wotwithstanding this stipulation the procedure shall not be a nullity §fit' rs shown
that theprocedzo'é sewer the mtended purpose '*

The term "Proced'ure” here means any procedure described by the Civil
Procedure Law, including the procedures described under the Servlce ofProcess
provisions

' 35. , Having reviewed the process adopted by Mr 'I‘ncker in the current case vis~:`z.-vis
the provisions of the Civil Prooedures Law, it is my view that the service Qf`
process as described by Mr_ Tucker is fundamentally defective to the extent that it
‘defi'eats the purpose of the process’ on the following aooot`mts:

a) lt was effected by a private person who under the Civil Procedures Law
does nc`)t qualify as a summoner or a notification clerk Mr. Tuel'cer is not
an employee of a UAE company or a branch of a foreign company
established in UAB for the purpose of providing summons processing
services;

b) Mr. 'I'ucker does not obviously have any outsourcing contract or similar
arrangement with the UAE Ministry of Justice for providing summons
processing services; and -

c) Mr. Tucker attempt to serve the process as outlined by himself failed 00
satisfy all the mandatory procedures that will have to be followed under
UAE Law for e&'ecting a valid process Tbese procedures were discussed
under the preoeeding paragraphs of this Staiement.

36. In view of the above tlaws, it is my opinion that the Serviee of Process as
described by Mr Tuclrer in the document titled “Retum of Service” is a nullity
under Art:icle 13 of the Civil Proeedme Law: lt is flawed and has material defects
Which defeats tire purpose of the proceduro, being in this case the Service of
Process

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37. I declare under penalty pf pexjury under the laws of the United Statw of America
that the foregoing statement is, to the b_est qf my knowledge and belief, true and
correct

Execuced on Augusc 6,2_003, inAbuDhabi, wiredsz

 

. Dr Faraj AAhnish

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